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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


  DR. DOROTHY NAIRNE, et al.,
                                                     Civil Action No. 3:22-cv-00178-SDD-SDJ
          Plaintiffs,

  v.                                                 Chief Judge Shelly D. Dick

  R. KYLE ARDOIN, in his official capacity as
  Secretary of State of Louisiana,            Magistrate Judge Scott D. Johnson

          Defendant.


  MEMORANDUM IN SUPPORT OF DEFENDANTS’ JOINT MOTION TO STRIKE
                 PLAINTIFFS’ POST-TRIAL BRIEF

        Pursuant to Rule 12(f) of the Federal Rules of Civil Procedure and Local Civil Rule 7(g),

Defendant R. Kyle Ardoin, in his official capacity as Secretary of State of Louisiana; Defendant

Intervenors Patrick Page Cortez and Clay Schexnayder in their respective official capacities as

President of the Louisiana Senate and Speaker of the Louisiana House of Representatives; and

Intervenor-Defendant the State of Louisiana, through Louisiana Attorney General Jeff Landry

(collectively, “Defendants”), hereby submit this Memorandum in Support of Defendants’ Joint

Motion to Strike Plaintiffs’ Post-Trial Brief, Rec. Doc. 207. Plaintiffs Post-Trial Brief should be

struck for several reasons: (1) it is untimely, in violation of this Court’s post-trial briefing Order,

Rec. Doc. 203; (2) it exceeds the page limitation, in violation of the briefing Order and Local Civil

Rule 7(g); and (3) it includes “scandalous,” “malicious,” and “impertinent” accusations against

defense counsel that have no basis in the record.

   I.      Plaintiffs’ Post-Trial Brief was Untimely.

        This Court’s Order, Rec. Doc 203, is clear. Parties were “to submit simultaneous briefs

with citations, not to exceed 40 pages” which “shall be submitted by close of business on
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12/19/2023.” Defendants complied with this order, submitting their brief, which complies with

Local Civil Rule 7(g) on December 19, 2023 at 4:30 PM CST. [Rec. Doc. 206]. Over four hours

later, and well after the close of business deadline, Plaintiffs filed their post-trial brief at 9:01 PM

CST. [Rec. Doc. 207]. Even allowing some latitude on “close of business,” 9:01 PM is clearly past

close of business for federal courts. Plaintiffs did not file for an extension of time. Plaintiffs did

not notify Defendants that the brief would be late due to some technical error.

        This Court repeatedly stated on the record that the parties were to file “simultaneous” post-

trial briefs, which was memorialized in Rec. Doc. 203. See Rec. Doc. 206-8 at 115:13, 116:11,

and 214:10–11. But Plaintiffs filing their Post-Trial Brief hours after the deadline is not

“simultaneous” and defeats the purpose of the word and of the Court’s instruction.

        Furthermore, the delay allowed Plaintiffs ample time to review Defendants’ post-trial brief

and adjust any arguments contained in their own accordingly. In fact, Plaintiffs’ Brief shows that

they, at a minimum, reviewed Defendants’ filings. See Rec. Doc. 207 at 7, n. 2 (citing to

Defendants’ filings at Docs. 206-2 and 206-7). This, of course, is prejudicial to Defendants and

puts Defendants at a disadvantage for complying with the Court’s order. For this reason alone,

Plaintiffs’ Post-Trial Brief should be struck. See Adams v. Travelers Indem. Co. of Conn., 465 F.3d

156, 161 (5th Cir. 2006) (holding no abuse of discretion by district court refusing to consider the

plaintiff’s untimely response to the defendant's motion for summary judgment and granting the

defendant’s motion as uncontested; noting delays in meeting court deadlines “are a particularly

abhorrent feature of today's trial practice,” that they increase litigation costs, “caus[e] disrespect

for lawyers and the judicial process,” and that “[a]dherence to reasonable deadlines is critical to

restoring integrity in court proceedings.”) (quotation omitted); Nelson v. Star Enter., 220 F.3d 587




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(5th Cir. 2000) (holding no abuse of discretion in district court treating defendants’ motion for

summary judgment as unopposed because plaintiff’s opposition filing was untimely).

   II.       Plaintiffs’ Post-Trial Brief Exceeds the Page Limitation.

          Plaintiffs’ Post-Trial Brief should also be struck for failure to comply with Local Civil Rule

7(g) which requires that “[s]ignature blocks must begin on or before the last page” of the brief.

This Court’s post-trial briefing Order clearly limits the length of the parties’ briefs to 40 pages.

Defendants complied with that Order and the Local Rules. See Rec. Doc. 206. Plaintiffs did not.

See Rec. Doc. 207. As a result, Plaintiffs’ Brief should be struck for failure to comply with this

Court’s Order and the Local Rules. See Rodgers v. La. Bd. of Nursing, 665 F. App’x 326, 328-29

(5th Cir. 2016) (holding no abuse of discretion in striking plaintiff's response to motion to dismiss

as untimely and in excess of page limit established by the district court, and noting the plaintiff

failed to timely request for an extension of time or to seek leave to exceed page limits before filing

as required by local rules); United States v. Ferrand, 284 Fed. Appx. 177, 179 (5th Cir. 2008)

(holding the district court did not err in striking the defendant's reply brief for exceeding the page

limit, where the defendant did not file a motion for leave to file longer brief); Blackboard, Inc. v.

Desire2Learn, Inc., 521 F. Supp. 2d 575, 577 (E.D. Tex. 2007) (striking summary judgment

motion that exceeded page limit set by the court’s scheduling order).

   III.      Plaintiffs’ Post-Trial Brief Includes Baseless Accusations Against Defense Counsel
             Unsupported by the Record.

          Lastly, Plaintiffs’ Post-Trial Brief should be struck pursuant to Fed. R. Civ. P. 12(f)

because it includes “scandalous,” “malicious,” and “impertinent” accusations against defense

counsel that have no basis in the record. Plaintiffs claim that “Mr. Farr misrepresented” a brief

filed by the Harvard Election Law Clinic which discussed the use of simulations in racial

gerrymandering cases under the Fourteenth Amendment. Rec. Doc. 207 at p. 22, n. 10.

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Specifically, Plaintiffs claim the Amicus Brief “explicitly noted that the Supreme Court has ruled

that simulations ‘have no place in racial-vote-dilution cases,’ and discussed the differences

between the two claims.” Id. But Mr. Farr’s exact representation to the Court was as follows:

         We’ve cited to a brief in our Findings of Fact at document 177, page 34, note 5,
         that was filed by Ms. Thomas’s organization, the Harvard Law Election School
         Clinic, with the United States Supreme Court in the South Carolina Case.

                And I won’t quote it because we’ve cited it to you, but there’s a lengthy
         discussion in this case about why simulations are relevant evidence on the intent of
         the map drawer in a racial case where there’s a claim of racial gerrymandering.

Exhibit 11 at 17:6–15. Mr. Farr even offered to read the brief into the record for clarification, which

he was told he did not need to do. Exhibit 1 at 18:15–19:2. Plaintiffs’ allegations against Mr. Farr

miss the mark.2

         Plaintiffs’ claims of “misrepresentation” by counsel is scandalous, malicious, and

impertinent and, for those reasons, at a minimum footnote 10 in Plaintiffs’ Post-Trial Brief should

be struck.

                                                CONCLUSION

         For these reasons, the Court should strike Plaintiffs’ Post-Trial Brief, Rec. Doc. 207, in its

entirety. In the alternative, should the Court decline to strike Plaintiffs’ entire Post-Trial Brief,

Defendants request that at a minimum footnote 10 be struck and Defendants be permitted to file a

short reply to Plaintiffs’ Brief. Defendants further request the Court grant any further relief it

deems just and proper, including attorneys’ fees incurred in bringing this Motion.




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  Attached hereto as Exhibit 1 is the relevant portion of the certified copy of the trial transcript from the morning
session of Day 6 when the Amicus was discussed. Defendants filed the rough version of Day 6 with their Post-Trial
Brief, Rec. Doc. 206-7 because at the time of filing, to the best of Defendants’ knowledge, the full Day 6 transcript
had not yet been completed.
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  Furthermore, as explained by Justice Kavanaugh, “Computer simulations might help detect the presence or absence
of intentional discrimination.” Allen v. Milligan, 599 U.S. 1, 44 (2023) (Kavanaugh, J., concurring).

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      Respectfully submitted, this the 20th day of December, 2023.

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